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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION at LONDON

  CRIMINAL ACTION NO. 4-10

  UNITED STATES OF AMERICA,                                                   PLAINTIFF,

  v.                               OPINION & ORDER

  GREG BOGGS,                                                               DEFENDANT.

                                     ***********

          This matter is before the Court on the Defendant’s Petition under 28 U.S.C. §2255

  to Vacate, Set Aside or Correct Sentence (Rec. No. 121). The matter was referred to the

  United States Magistrate Judge for consideration.

          On November 27, 2006, the Magistrate Judge filed his Report and Recommendation

  (Rec. 144). Based on a review of the record and applicable law, the Magistrate Judge

  recommended that Defendant’s motion should be denied with prejudice and that a certificate

  of appealability should not be issued.

          Defendant has filed objections to the Magistrate Judge’s Report and

  Recommendation (Rec. No. 145). This Court must make a de novo determination of those

  portions of the Magistrate Judge’s proposed report and recommendation to which objection

  is made. 28 U.S.C. § 636(b)(1)(C). The Court has considered the Defendant’s objections

  and, after having examined the record and conducting a de novo review of them, the Court

  finds the objections to be without merit.

          Accordingly, the Court, being otherwise sufficiently advised, HEREBY ORDERS

  that:

  (1)     The Magistrate Judge’s Report and Recommendation (Rec. No. 144) is hereby
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        ADOPTED as the opinion of the Court; and

  (2)   The Petition under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence (Rec.

        No. 121) is hereby DENIED; and

  (3)   A certificate of appealability should not be issued.

        Dated this 2nd day of February, 2007.
